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  6	   United States of America
  7	  
                                   IN THE UNITED STATES DISTRICT COURT
  8	  
                                      EASTERN DISTRICT OF CALIFORNIA
  9	  

10	   UNITED STATES OF AMERICA,                           CASE NO. 2:07-CR-298 MCE
                                                           CASE NO. 2:14-CR-0042 MCE
11	                                Plaintiff,

12	                          v.                           ORDER RELATING CASES

13	   JESUS LUPIAN,
14	                               Defendant.

15	  
16	          For the reasons set forth in the Notice of Related Cases filed by counsel for the United States, the

17	   Court finds that the pending petition for violation of supervised release conditions in United States v.
18	   Lupian, Case No. 2:07-cr-298 MCE, is related to the Information in United States v. Lupian, Case No.
19	   2:14-cr-0042 MCE, within the meaning of Local Rule 123(a) because the conduct underlying the
20	   petition for violation of supervised release and the Information are the same.
21	          Based upon this finding, IT IS HEREBY ORDERED that the Clerk of the Court shall relate

22	   United States v. Lupian, Case No. 2:07-cr-298 MCE to United States v. Lupian, Case No. 2:14-cr-0042
23	   MCE.
24	          IT IS SO ORDERED.

25	   Dated: February 28, 2014
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28	  
     	  
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